  Case: 5:14-cr-00007-SL Doc #: 438 Filed: 04/03/15 1 of 5. PageID #: 3137




                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                 )       CASE NO. 5:14-cr-7-06
                                          )
                      PLAINTIFFS,         )       JUDGE SARA LIOI
                                          )
vs.                                       )
                                          )       MEMORANDUM OPINION
                                          )
                                          )
LARRY L. SULLIVAN, JR,                    )
                                          )
                     DEFENDANT.           )


              On February 2, 2015, the Court received a letter from defendant Larry

Sullivan, Jr. (“defendant” or “Sullivan”), inquiring as to whether he was eligible for

sentence reduction, presumably through Amendment 782 to the Drug Quantity Table in

U.S.S.G § 2D1.1 and the Second Chance Act. (Doc. No. 419 [“Mot.”].) The Court treated

the filing as a motion for a sentence reduction and instructed the government to file a

response, which the government did on February 27, 2015. (Doc. No. 428 [“Resp”].) By

its response, the government opposes Sullivan’s motion. (See Resp.) For the reasons that

follow, Sullivan’s motion is DENIED.

      I. BACKGROUND

              On July 25, 2014, defendant entered a counseled plea of guilty to Count

13 of the indictment, which charged defendant with possession with intent to distribute

and distribution of heroin, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). In

exchange for his plea, and pursuant to a plea agreement, Count 1 of the indictment—the
  Case: 5:14-cr-00007-SL Doc #: 438 Filed: 04/03/15 2 of 5. PageID #: 3138




only other count in which defendant was charged—was dismissed. (Doc. No. 238 [“Plea

Ag.”]; Doc. No. 364 [“Judgment”] at 2514-2515.)

              Based upon initial advisory guideline calculations, defendant’s Base Level

Offense under then-existing U.S.S.G. § 2D1.1 was 18. The parties expressly agreed, in

light of Amendment 782 to the sentencing guidelines, that Sullivan’s Base Level Offense

would be 16. However, based on defendant’s prior felony convictions, the presentence

report provided that defendant’s prior criminal record qualified him as career offender

under U.S.S.G. § 4B1.1, with an enhanced offense level of 32. With a three-level

reduction for acceptance of responsibility, Sullivan’s advisory imprisonment range, as a

career offender, was 151-188 months.

              Notwithstanding defendant’s status as a “career offender,” the government

filed a sentencing memorandum suggesting that, under the totality of the circumstances, a

sentence lower than the advisory imprisonment range would be appropriate. (Doc. No.

345.) At sentencing, the Court agreed with the government that a lower than guideline

range was warranted and substantially departed downward to a final Total Offense Level

of 17, which carried with it a sentencing range of 51-63 months. On October 23, 2014,

the Court sentenced defendant to a term of imprisonment of 63 months, with credit for

time served. (Judgment.)

   II. LAW AND ANALYSIS

              Defendant now inquires as to whether he is eligible to have his sentence

reduced pursuant to a retroactive amendment to the federal sentencing guidelines, or



                                           2
  Case: 5:14-cr-00007-SL Doc #: 438 Filed: 04/03/15 3 of 5. PageID #: 3139




whether he is eligible for re-sentencing under the Second Chance Act. The answer to

each question is “no.”

               A.        Amendment 782

               The authority of the Court to resentence a defendant is limited by statute.

United States v. Houston, 529 F.3d 743, 748-49 (6th Cir. 2008) (citing United States v.

Ross, 245 F.3d 577, 585 (6th Cir. 2001)). The sentencing court has no inherent authority

to modify an otherwise valid sentence. United States v. Washington, 584 F.3d 693, 700

(6th Cir. 2009). Congress allows a district court to modify a term of imprisonment under

18 U.S.C. § 3582(c)(2) when the defendant “has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission . . . .” Section 3582(c)(2) additionally states that the reduction

must be “consistent with applicable policy statements issued by the Sentencing

Commission.”

               The Sentencing Commission, on November 1, 2014, adopted Amendment

782 to the Drug Quantity Table in U.S.S.G. § 2D1.1, resulting in lower guideline ranges

for most drug trafficking offenses. The amendment has been given retroactive effect, but

offenders may not be released from prison based on this amendment earlier than

November 1, 2015.

               Defendant is not entitled to a sentence reduction under Amendment 782.

Once a defendant is determined to be a career offender under § 4B1.1, if the career

offender sentencing range is greater than the initial advisory guideline range, the career

offender range controls. U.S.S.G. § 4B1.1(b). Here, the initial advisory calculation

                                            3
  Case: 5:14-cr-00007-SL Doc #: 438 Filed: 04/03/15 4 of 5. PageID #: 3140




resulted in an offense level of 16. Once defendant was found to be a career offender, his

offense level became 32. Finding that level 32 overstated defendant’s offense, the Court

substantially departed downward to arrive at a final offense level of 17. Therefore, the

Court ultimately calculated defendant’s sentencing range based upon its downward

departure from the enhanced offense level set forth in the career offender guidelines.

               When a sentencing range is derived from § 4B1.1, and not the amended

Drug Quantity Table in § 2D1.1, Amendment 782 is not applicable. See United States v.

Thompson, 714 F.3d 946, 949 (6th Cir. 2013) (court held previous amendments to drug

quantity table did not apply to lower sentence of career offender); see, e.g., United States

v. Nicholson, No. 3:11-194, 2015 WL 403997, at *2 (M.D. Tenn. Jan. 29, 2005)

(defendant not eligible for sentence reduction under Amendment 782 because his

sentencing range was determined by his career offender status), Since defendant was

originally sentenced based on the career offender guideline range, properly reduced by

this Court, this Court lacks jurisdiction under 18 U.S.C. § 3582(c)(2) to modify his

sentence.

               B.     The Second Chance Act

               Defendant fails to explain why he is entitled to resentencing under the

Second Chance Act. The Act provides, in part, that the Director of the Bureau of Prisons

“shall, to the extent possible, ensure that a prisoner serving a term of imprisonment

spends a portion of the final months of that term (not to exceed twelve months) under

conditions that will afford that prisoner a reasonable opportunity to adjust to and prepare

for the reentry of that prisoner into the community.” 18 U.S.C. § 3624(c)(1). While the

                                             4
  Case: 5:14-cr-00007-SL Doc #: 438 Filed: 04/03/15 5 of 5. PageID #: 3141




Second Chance Act allows the Bureau of Prisons to consider placement of an inmate in a

Residential Re-entry Center (“RRC”) for a portion of his remaining sentence, it offers no

authority for a district court to resentence a defendant or reduce an existing sentence. For

this reason, defendant’s request for relief under the Second Chance Act is also denied.

   III.   CONCLUSION

          For all of the foregoing reasons, defendant’s motion to reduce his sentence

(Doc. No. 419) is DENIED in its entirety.

               IT IS SO ORDERED.

Dated: April 1, 2015
                                                 HONORABLE SARA LIOI
                                                 UNITED STATES DISTRICT JUDGE




                                             5
